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 8

 9                         UNITED STATES DISTRICT COURT
10                        CENTRAL DISTRICT OF CALIFORNIA
11                                 SOUTHERN DIVISION
12
     IN-N-OUT BURGERS, a California                 Case No. 8:17-cv-1474-JVS-DFM
13   corporation,
                                                    PLAINTIFF AND
14                        Plaintiff,                COUNTERDEFENDANT IN-N-
                                                    OUT BURGERS’ STATEMENT OF
15            vs.                                   UNCONTROVERTED FACTS AND
                                                    CONCLUSIONS OF LAW IN
16   SMASHBURGER IP HOLDER LLC, a                   SUPPORT OF MOTION FOR
     Delaware limited liability company; and        PARTIAL SUMMARY
17   SMASHBURGER FRANCHISING LLC,                   JUDGMENT RE
     a Delaware limited liability company,          RESPONSIBILITY OF NAMED
18                                                  DEFENDANTS FOR USE OF
                           Defendants.              MARKS, SLOGANS, AND
19                                                  ADVERTISING MATERIALS
20                                                  [PUBLICLY FILED VERSION]
21   SMASHBURGER IP HOLDER LLC,                     Date:      April 8, 2019
     and SMASHBURGER FRANCHISING                    Time:      1:30 p.m.
22   LLC,                                           Courtroom: 10C
23                         Counterclaimants,        Judge: Hon. James V. Selna
24            vs.                                   Fact Discovery Cut-Off: Apr. 19, 2019
                                                    Pre-Trial Conference: Sept. 9, 2019
25   IN-N-OUT BURGERS,                              Trial Date:           Sept. 24, 2019
26                         Counterdefendant.
27

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                                                           PLAINTIFF IN-N-OUT BURGERS’ STATEMENT OF
                                                     UNCONTROVERTED FACTS AND CONCLUSIONS OF LAW
     4852-0138-7657.v1                                                      Case No 8:17-cv-1474-JVS-DFM
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 1            Pursuant to Local Rule 56-1, Plaintiff and Counterdefendant In-N-Out Burgers
 2   (“In-N-Out”) hereby submits this Statement of Uncontroverted Facts and
 3   Conclusions of Law to support its Motion for Partial Summary Judgment re
 4   Responsibility of Named Defendants for Use of Marks, Slogans, and Advertising
 5   Materials against Defendants and Counterclaimants Smashburger IP Holder LLC
 6   (“Smashburger IP”) and Smashburger Franchising LLC (“Smashburger
 7   Franchising”).
 8   I.       STATEMENT OF UNCONTROVERTED FACTS
 9         Statement of Uncontroverted Facts                       Supporting Evidence
10    1.       Smashburger IP is the owner of the Printout from USPTO’s website re
11    applications to register the marks                  application filed by Smashburger IP
12    TRIPLE DOUBLE and                                   with USPTO on November 14, 2016
13    SMASHBURGER TRIPLE DOUBLE in                        to register TRIPLE DOUBLE in
14    International Class 30 for “[s]andwiches”           International Class 43, Serial No.
15    and in International Class 43 for “[c]arry-         87/236,154 (Ex. A to Declaration of
16    out restaurants; restaurant services; self-         Jeffrey D. Wexler (“Wexler Decl.”));
17    service restaurants,” filed with the United         printout from USPTO’s website re
18    States Patent & Trademark Office (the               application filed by Smashburger IP
19    “USPTO”) on November 14, 2016.                      with USPTO on November 14, 2016
20                                                        to register SMASHBURGER TRIPLE
21                                                        DOUBLE in International Class 43,
22                                                        Serial No. 87/236,167 (Ex. B to
23                                                        Wexler Decl.); printout from
24                                                        USPTO’s website re application filed
25                                                        by Smashburger IP with USPTO on
26                                                        November 14, 2016 to register
27                                                        TRIPLE DOUBLE in International
28
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                                                             PLAINTIFF’ STATEMENT OF UNCONTROVERTED FACTS
                                                                                   AND CONCLUSIONS OF LAW
     4852-0138-7657.v1                                                             Case No 8:17-cv-1474-JVS-DFM
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 1        Statement of Uncontroverted Facts                      Supporting Evidence
 2                                                      Class 30, Serial No. 87/236,274 (Ex. C
 3                                                      to Wexler Decl.); printout from
 4                                                      USPTO’s website re application filed
 5                                                      by Smashburger IP with USPTO on
 6                                                      November 14, 2016 to register
 7                                                      SMASHBURGER TRIPLE DOUBLE
 8                                                      in International Class 30, Serial No.
 9                                                      87/236,287 (Ex. D to Wexler Decl.);
10                                                      Wexler Decl., ¶ 2 (authenticating Exs.
11                                                      A-D).
12   2.        Smashburger IP is also the owner         Printout from USPTO’s website re
13   of trademark registrations in International registration issued by USPTO to
14   Class 43 for two slogans: (1)                      Smashburger IP on May 20, 2008 for
15   “SMASH.SIZZLE.SAVOR.,” registered                  “SMASH.SIZZLE.SAVOR.,” Reg.
16   by the USPTO on May 20, 2008; and (2)              No. 3,432,241 (Ex. E to Wexler
17   “SMASHED FRESH. SERVED                             Decl.); printout from USPTO’s
18   DELICIOUS.,” registered by the USPTO               website re registration issued by
19   on September 25, 2012.                             USPTO to Smashburger IP on
20                                                      September 25, 2012 for “SMASHED
21                                                      FRESH. SERVED DELICIOUS.,”
22                                                      Reg. No. 4,213,598 (Ex. F to Wexler
23                                                      Decl.); Wexler Decl., ¶ 3
24                                                      (authenticating Exs. E-F).
25   3.        Pursuant to a May 16, 2013               Printout of electronic Trademark
26   Trademark Assignment filed with the                Assignment cover sheet filed with the
27   USPTO, Smashburger IP was assigned                 USPTO on May 16, 2013, attaching a
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                                                           PLAINTIFF’ STATEMENT OF UNCONTROVERTED FACTS
                                                                                 AND CONCLUSIONS OF LAW
     4852-0138-7657.v1                                                           Case No 8:17-cv-1474-JVS-DFM
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 1        Statement of Uncontroverted Facts                      Supporting Evidence
 2   the trademarks associated with                     Trademark Assignment dated May 16,
 3   Smashburger’s business that had                    2013 between Icon Burger
 4   previously been held by Icon Burger                Development Company, LLC and
 5   Development Company, LLC.                          Smashburger IP (Ex. G to Wexler
 6                                                      Decl.); Wexler Decl., ¶ 4
 7                                                      (authenticating Ex. G).
 8   4.        In-N-Out’s Request for Admission         In-N-Out’s Sixth Set of Requests for
 9   No. 163 to Smashburger IP and                      Admissions to Smashburger IP and
10   Smashburger Franchising asked, “Admit              Smashburger Franchising, Request for
11   that SMASHBURGER IP owns the                       Admission No. 163 (Ex. Q to Wexler
12   intellectual property rights in and to the         Decl.); Objections and Responses of
13   TRIPLE DOUBLE MARKS.” (The term Smashburger IP and Smashburger
14   “TRIPLE DOUBLE MARKS” was                          Franchising to In-N-Out’s Sixth Set of
15   defined to “refer[] to the marks                   Requests for Admissions, Response to
16   ‘comprising ‘Triple Double’ used by                Request No. 163 (Ex. R to Wexler
17   DEFENDANTS in connection with their                Decl.); Wexler Decl., ¶ 14
18   products or services, including, but not           (authenticating Exs. Q, R).
19   limited to, ‘Triple Double,’ ‘Smashburger
20   Triple Double,’ ‘Bacon Triple Double,’
21   and ‘Pub Triple Double.’”) In response
22   to Request for Admission No. 163,
23   Smashburger IP and Smashburger
24   Franchising asserted objections, and then
25   “admit[ted] that with regard to trademark
26   registrations, Smashburger IP owns the
27   registration for the mark SMASH. To the
28
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                                                           PLAINTIFF’ STATEMENT OF UNCONTROVERTED FACTS
                                                                                 AND CONCLUSIONS OF LAW
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 1        Statement of Uncontroverted Facts                      Supporting Evidence
 2   extent that there are any intellectual
 3   property rights associated with Triple
 4   Double burger products, they also would
 5   be held by Smashburger IP.”
 6   5.        In-N-Out’s Request for Admission         In-N-Out’s Sixth Set of Requests for
 7   No. 164 to Smashburger IP and                      Admissions to Smashburger IP and
 8   Smashburger Franchising asked, “Admit              Smashburger Franchising, Request for
 9   that SMASHBURGER IP owns the                       Admission No. 164 (Ex. Q to Wexler
10   intellectual property rights in and to the         Decl.); Objections and Responses of
11   DOUBLE THE BEEF SLOGANS.” (The Smashburger IP and Smashburger
12   term “DOUBLE THE BEEF SLOGAN”                      Franchising to In-N-Out’s Sixth Set of
13   was defined to “refer[] to any slogan that         Requests for Admissions, Response to
14   that includes the phrase ‘Double the Beef’ Request No. 164 (Ex. R to Wexler
15   (including, but not limited to, the slogans        Decl.); Wexler Decl., ¶ 14
16   ‘Double the Beef,’ ‘Triple the Cheese,             (authenticating Exs. Q, R).
17   Double the Beef,’ ‘Triple the Cheese,
18   Double the Beef in Every Bite,’ ‘Triple
19   the Cheese, Double the Beef, Triple the
20   Options,’ and ‘Classic SmashTM Beef
21   Build with triple the cheese & double the
22   beef in every bite’) or denotes two times
23   the beef (including, but not limited to, the
24   slogan ‘2x Fresh Never-Frozen Beef’).”).
25   In response to Request for Admission No.
26   164, Smashburger IP and Smashburger
27   Franchising asserted objections, and then
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                                                           PLAINTIFF’ STATEMENT OF UNCONTROVERTED FACTS
                                                                                 AND CONCLUSIONS OF LAW
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 1        Statement of Uncontroverted Facts                      Supporting Evidence
 2   “admit[ted] that with regard to trademark
 3   registrations, Smashburger IP owns the
 4   registration for the mark SMASH. To the
 5   extent that there are any intellectual
 6   property rights in the slogans, they also
 7   would be held by Smashburger IP.”
 8   6.        Smashburger IP provided the same         In-N-Out’s Fourth Set of
 9   substantive response to In-N-Out’s                 Interrogatories to Smashburger IP,
10   Interrogatory No. 11, which asked,                 Interrogatory No. 11 (Ex. S to Wexler
11   “[i]dentify by name, rights held, and              Decl.); Objections and Responses of
12   source of rights, each Smashburger entity          Smashburger IP to In-N-Out’s Fourth
13   that holds any rights in the DOUBLE                Set of Interrogatories, Response to
14   THE BEEF SLOGANS.”                                 Interrogatory No. 11 (Ex. T to Wexler
15                                                      Decl.); Wexler Decl., ¶ 15
16                                                      (authenticating Exs. S, T).
17   7.        In-N-Out’s Request for Admission         In-N-Out’s Sixth Set of Requests for
18   No. 165 to Smashburger IP and                      Admissions to Smashburger IP and
19   Smashburger Franchising asked, “Admit              Smashburger Franchising, Request for
20   that SMASHBURGER IP owns the                       Admission No. 165 (Ex. Q to Wexler
21   intellectual property rights in and to the         Decl.); Objections and Responses of
22   DOUBLE THE BEEF MATERIALS.”                        Smashburger IP and Smashburger
23   (The term “DOUBLE THE BEEF                         Franchising to In-N-Out’s Sixth Set of
24   MATERIALS” was defined to “refer[] to              Requests for Admissions, Response to
25   any advertising, marketing, or                     Request No. 165 (Ex. R to Wexler
26   promotional materials that depict any              Decl.); Wexler Decl., ¶ 14
27   DOUBLE THE BEEF SLOGAN.”) In                       (authenticating Exs. Q, R).
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                                                           PLAINTIFF’ STATEMENT OF UNCONTROVERTED FACTS
                                                                                 AND CONCLUSIONS OF LAW
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 1        Statement of Uncontroverted Facts                   Supporting Evidence
 2   response to Request for Admission No.
 3   165, Smashburger IP and Smashburger
 4   Franchising asserted objections, and then
 5   “admit[ted] that with regard to trademark
 6   registrations, Smashburger IP owns the
 7   registration for the mark SMASH. To the
 8   extent that there are any intellectual
 9   property rights in the materials, they also
10   would be held by Smashburger IP.”
11   8.        Smashburger IP provided the same      In-N-Out’s Fourth Set of
12   substantive response to In-N-Out’s              Interrogatories to Smashburger IP,
13   Interrogatory No. 12, which asked,              Interrogatory No. 12 (Ex. S to Wexler
14   “[i]dentify by name, rights held, and           Decl.); Objections and Responses of
15   source of rights, each Smashburger entity       Smashburger IP to In-N-Out’s Fourth
16   that holds any rights in the DOUBLE             Set of Interrogatories, Response to
17   THE BEEF MATERIALS.”                            Interrogatory No. 12 (Ex. T to Wexler
18                                                   Decl.); Wexler Decl., ¶ 15
19                                                   (authenticating Exs. S, T).
20   9.        Tom Ryan is CEO of Smashburger        In-N-Out’s First Set of Requests for
21   IP and Smashburger Franchising.                 Admissions to Smashburger IP,
22                                                   Requests for Admission Nos. 35-36
23                                                   (Ex. U to Wexler Decl.); In-N-Out’s
24                                                   First Set of Requests for Admissions
25                                                   to Smashburger Franchising, Requests
26                                                   for Admission Nos. 35-36 (Ex. V to
27                                                   Wexler Decl.); Objections and
28
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                                                        PLAINTIFF’ STATEMENT OF UNCONTROVERTED FACTS
                                                                              AND CONCLUSIONS OF LAW
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 1       Statement of Uncontroverted Facts                  Supporting Evidence
 2                                                 Reponses of Smashburger IP and
 3                                                 Smashburger Franchising In-N-Out’s
 4                                                 First Set of Requests for Admissions,
 5                                                 Response to Requests for Admission
 6                                                 Nos. 35-36 (Ex. W to Wexler Decl.);
 7                                                 Wexler Decl., ¶ 16 (authenticating
 8                                                 Exs. U-W).
 9   10.                                           June 14, 2017 e-mail chain between
10                                                 David Martinelli, Smashburger’s
11                                                 Senior Marketing Director, and Joni
12                                                 Dayhuff, Smashburger’s Marketing
13                                                 Content Manager (Ex. M to Wexler
14                                                 Decl.); Wexler Decl., ¶ 10
15                                                 (authenticating Ex. M).
16   11.                                           June 16, 2017 e-mail chain among
17                                                 David Martinelli, Smashburger’s
18                                                 Senior Marketing Director, Joni
19                                                 Dayhuff, Smashburger’s Marketing
20                                                 Content Manager, and Tom Ryan,
21                                                 Smashburger’s Chief Executive
22                                                 Officer, attaching draft Triple Double
23                                                 marketing materials (Ex. N to Wexler
24                                                 Decl.); Wexler Decl., ¶ 11
25                                                 (authenticating Ex. N).
26   12.                                           October 4, 2017 e-mail from David
27                                                 Martinelli, Smashburger’s Senior
28
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                                                      PLAINTIFF’ STATEMENT OF UNCONTROVERTED FACTS
                                                                            AND CONCLUSIONS OF LAW
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 1       Statement of Uncontroverted Facts                         Supporting Evidence
 2                                                     Marketing Director, to “domestic
 3                                                     Franchise Owners/Operators,”
 4                                                     attaching marketing materials for the
 5                                                     Triple Double and the Bacon Triple
 6                                                     Double (Ex. O to Wexler Decl.);
 7                                                     Wexler Decl., ¶ 12 (authenticating Ex.
 8                                                     O).
 9   13.       Smashburger released a July 11,         July 11, 2017 press release titled
10   2017 press release in which Mr. Ryan              “Smashburger Launches ‘Triple
11   stated that the Triple Double burger              Double’ Burger” (Ex. P to Wexler
12   “provid[es] three times the cheese and            Decl.); Wexler Decl., ¶ 13
13   double the beef in every bite.”                   (authenticating Ex. P).
14   14.       Smashburger’s website                   Screenshots from Smashburger’s
15   (https://smashburger.com/menu) bears the website
16   copyright notice “© 2018 Smashburger              (https://smashburger.com/menu),
17   IP Holder LLC. All rights reserved.               taken on February 21, 2019 (Ex. H to
18   Smashburger® and related trademarks are           Wexler Decl.); Wexler Decl., ¶ 5
19   the property of Smashburger IP Holder             (authenticating Ex. H).
20   LLC.”
21   15.       Smashburger’s website displays the Screenshots from Smashburger’s
22   TRIPLE DOUBLE mark and “Double the website
23   Beef” slogans.                                    (https://smashburger.com/menu),
24                                                     taken on February 21, 2019 (Ex. H to
25                                                     Wexler Decl.); Wexler Decl., ¶ 5
26                                                     (authenticating Ex. H).
27   16.                                               April 2018 Smashburger Franchise
28
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                                                             PLAINTIFF’ STATEMENT OF UNCONTROVERTED FACTS
                                                                                   AND CONCLUSIONS OF LAW
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  1       Statement of Uncontroverted Facts                   Supporting Evidence
  2                                               Disclosure Document at
  3                                                  SMASH00044682-83 (Ex. K to
  4                                                  Wexler Decl.); Wexler Decl., ¶ 8
  5                                                  (authenticating Ex. K).
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 13   17.       On May 15, 2013, Smashburger IP      Smashburger Finance License
 14   entered into two license agreements: (1)       Agreement (Ex. I to Wexler Decl.);
 15   an Intellectual Property License               Smashburger Franchising License
 16   Agreement (the “Smashburger Finance            Agreement (Ex. J to Wexler Decl.);
 17   License Agreement”) with Smashburger           Wexler Decl., ¶¶ 6-7 (authenticating
 18   Finance LLC (“Smashburger Finance”);           Exs. I, J).
 19   and (2) an Intellectual Property and
 20   Products Designation License Agreement
 21   (the “Smashburger Franchise License
 22   Agreement”) with Smashburger
 23   Franchising.
 24   18.                                            Smashburger Finance License
 25                                                  Agreement at 1-2, § 1(b) (Ex. I to
 26                                                  Wexler Decl.); Smashburger
 27                                                  Franchising License Agreement at 1-2,
 28
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                                                        PLAINTIFF’ STATEMENT OF UNCONTROVERTED FACTS
                                                                              AND CONCLUSIONS OF LAW
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  1       Statement of Uncontroverted Facts                   Supporting Evidence
  2                                                  § 1(d) (Ex. J to Wexler Decl.); Wexler
  3                                                  Decl., ¶¶ 6-7 (authenticating Exs. I, J).
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 13   19.                                            Smashburger Finance License
 14                                                  Agreement at 3, § 5(b) (Ex. I to
 15                                                  Wexler Decl.); Smashburger
 16                                                  Franchising License Agreement at 3, §
 17                                                  5(b) (Ex. J to Wexler Decl.); Wexler
 18                                                  Decl., ¶¶ 6-7 (authenticating Exs. I, J).
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 22   20.                                            Smashburger Finance License
 23                                                  Agreement at 4-5, § 6(a) (Ex. I to
 24                                                  Wexler Decl.); Wexler Decl., ¶ 6
 25                                                  (authenticating Ex. I).
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                                                        PLAINTIFF’ STATEMENT OF UNCONTROVERTED FACTS
                                                                              AND CONCLUSIONS OF LAW
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  1       Statement of Uncontroverted Facts                   Supporting Evidence
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  7   21.                                            Smashburger Finance License
  8                                                  Agreement at 2, § 2(a) (Ex. I to
  9                                                  Wexler Decl.); Wexler Decl., ¶ 6
 10                                                  (authenticating Ex. I).
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 20   22.                                            Smashburger Franchising License
 21                                                  Agreement at 2, § 2(a) (Ex. J to
 22                                                  Wexler Decl.); Wexler Decl., ¶ 7
 23                                                  (authenticating Ex. J).
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                                                        PLAINTIFF’ STATEMENT OF UNCONTROVERTED FACTS
                                                                              AND CONCLUSIONS OF LAW
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  1       Statement of Uncontroverted Facts                     Supporting Evidence
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  6   23.                                              April 2018 Smashburger Franchise
  7                                                    Disclosure Document at
  8                                                    SMASH00044652 (Ex. K to Wexler
  9                                                    Decl.); Wexler Decl., ¶ 8
 10                                                    (authenticating Ex. K).
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 15   24.       In-N-Out’s Requests for Admission In-N-Out’s Sixth Set of Requests for
 16   Nos. 166, 168, and 170 to Smashburger            Admissions to Smashburger IP and
 17   IP and Smashburger Franchising asked,            Smashburger Franchising, Requests
 18   “Admit that SMASHBURGER                          for Admission Nos. 166, 168, 170 (Ex.
 19   COMPANY RESTAURANTS have                         Q to Wexler Decl.); Objections and
 20   rights to use [the TRIPLE DOUBLE                 Responses of Smashburger IP and
 21   MARKS, the DOUBLE THE BEEF                       Smashburger Franchising to In-N-
 22   SLOGANS, and the DOUBLE THE                      Out’s Sixth Set of Requests for
 23   BEEF MATERIALS, respectively]                    Admissions, Response to Request
 24   through a license from Smashburger IP.”          Nos. 166, 168, 170 (Ex. R to Wexler
 25   (The term “SMASHBURGER                           Decl.); Wexler Decl., ¶ 14
 26   COMPANY RESTAURANT” was                          (authenticating Exs. Q, R).
 27   defined to “refer[] to any Smashburger-
 28
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                                                          PLAINTIFF’ STATEMENT OF UNCONTROVERTED FACTS
                                                                                AND CONCLUSIONS OF LAW
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  1       Statement of Uncontroverted Facts                       Supporting Evidence
  2   branded restaurant in the United States
  3   that was or is owned or operated, directly
  4   or indirectly, by any direct or indirect
  5   subsidiary of Icon Burger Acquisition
  6   LLC, including, but not limited to” 46
  7   named entities.) In response to Requests
  8   for Admission Nos. 166, 168, and 170,
  9   Smashburger IP and Smashburger
 10   Franchising asserted objections, and then
 11   “admit[ted] that to the extent that there
 12   are any intellectual property rights
 13   associated with [the Triple Double marks,
 14   the slogans, and the materials,
 15   respectively], they are licensed from
 16   Smashburger IP to the company-owned
 17   stores.”
 18   25.        In-N-Out’s Requests for                 In-N-Out’s Sixth Set of Requests for
 19   Admission Nos. 167, 169, and 171 to                Admissions to Smashburger IP and
 20   Smashburger IP and Smashburger                     Smashburger Franchising, Requests
 21   Franchising asked, “Admit that                     for Admission Nos. 167, 169, 171 (Ex.
 22   SMASHBURGER FRANCHISE                              Q to Wexler Decl.); Objections and
 23   RESTAURANTS have rights to use [the                Responses of Smashburger IP and
 24   TRIPLE DOUBLE MARKS, the                           Smashburger Franchising to In-N-
 25   DOUBLE THE BEEF SLOGANS, and                       Out’s Sixth Set of Requests for
 26   the DOUBLE THE BEEF MATERIALS,                     Admissions, Response to Request
 27   respectively] through a license from               Nos. 167, 169, 171 (Ex. R to Wexler
 28
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                                                            PLAINTIFF’ STATEMENT OF UNCONTROVERTED FACTS
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  1       Statement of Uncontroverted Facts                       Supporting Evidence
  2   SMASHBURGER FRANCHISING.”                          Decl.); Wexler Decl., ¶ 14
  3   (The term “SMASHBURGER                             (authenticating Exs. Q, R).
  4   FRANCHISE RESTAURANT” was
  5   defined to “refer[] to any Smashburger-
  6   branded restaurant in the United States
  7   that was or is owned or operated by any
  8   franchisee of Smashburger Franchising
  9   LLC.”) In response to Requests for
 10   Admission Nos. 167, 169, and 171,
 11   Smashburger IP and Smashburger
 12   Franchising asserted objections, and then
 13   “admit[ted] that to the extent that there
 14   are any intellectual property rights
 15   associated with [the Triple Double marks,
 16   the slogans, and the materials,
 17   respectively], they are licensed from
 18   Smashburger IP to Smashburger
 19   Franchising, LLC which, in turn, licenses
 20   them to Smashburger franchises.”
 21   26.                                                August 2016 Standards of Operations
 22                                                      Guide at cover page, 7 (Ex. L to
 23                                                      Wexler Decl.); Wexler Decl., ¶ 9
 24                                                      (authenticating Ex. L).
 25

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                                                            PLAINTIFF’ STATEMENT OF UNCONTROVERTED FACTS
                                                                                  AND CONCLUSIONS OF LAW
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  1       Statement of Uncontroverted Facts                       Supporting Evidence
  2

  3   27.                                             August 2016 Standards of Operations
  4                                                   Guide at cover page, 10 (Ex. L to
  5                                                   Wexler Decl.); Wexler Decl., ¶ 9
  6                                                   (authenticating Ex. L).
  7

  8   28.                                             August 2016 Standards of Operations
  9                                                   Guide at 9 (Ex. L to Wexler Decl.);
 10                                                   Wexler Decl., ¶ 9 (authenticating Ex.
 11                                                   L).
 12

 13   29.                                             Smashburger Finance License
 14                                                   Agreement at 3, § 4(b) (Ex. I to
 15                                                   Wexler Decl.); Smashburger
 16                                                   Franchising License Agreement at 3, §
 17                                                   4(b) (Ex. J to Wexler Decl.); Wexler
 18                                                   Decl., ¶¶ 6-7 (authenticating Exs. I, J).
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 27   30.       In-N-Out’s Requests for Admission In-N-Out’s Sixth Set of Requests for
 28
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                                                            PLAINTIFF’ STATEMENT OF UNCONTROVERTED FACTS
                                                                                  AND CONCLUSIONS OF LAW
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  1         Statement of Uncontroverted Facts                       Supporting Evidence
  2    Nos. 172-77 to Smashburger IP and                   Admissions to Smashburger IP and
  3    Smashburger Franchising asked, “Admit               Smashburger Franchising, Requests
  4    that [SMASHBURGER IP or                             for Admission Nos. 172-77 (Ex. Q to
  5    SMASHBURGER FRANCHISING,                            Wexler Decl.); Objections and
  6    respectively] has the right to control use          Responses of Smashburger IP and
  7    of [the TRIPLE DOUBLE MARKS, the                    Smashburger Franchising to In-N-
  8    DOUBLE THE BEEF SLOGANS, and                        Out’s Sixth Set of Requests for
  9    the DOUBLE THE BEEF MATERIALS,                      Admissions, Response to Request
 10    respectively] by [SMASHBURGER                       Nos. 172-77 (Ex. R to Wexler Decl.);
 11    COMPANY RESTAURANTS or                              Wexler Decl., ¶ 14 (authenticating
 12    SMASHBURGER FRANCHISE                               Exs. Q, R).
 13    RESTAURANTS, respectively].” In
 14    response to Requests for Admission Nos.
 15    172-77, Smashburger IP and
 16    Smashburger Franchising asserted
 17    objections, and then “admit[ted] to the
 18    extent that the license agreement, which
 19    has been produced to Plaintiff in this
 20    action, contains certain limitations and
 21    terms that may be invoked to restrict use
 22    of the licensed IP assets.”
 23

 24   II.      CONCLUSIONS OF LAW
 25            1.         Under Fed. R. Civ. P. 56(a), “[a] party may move for summary
 26   judgment, identifying each claim or defense – or the part of each claim or defense –
 27   on which summary judgment is sought.” Id.
 28
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                                                              PLAINTIFF’ STATEMENT OF UNCONTROVERTED FACTS
                                                                                    AND CONCLUSIONS OF LAW
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  1            2.         Summary judgment is required “if the movant shows that there is no
  2   genuine issue as to any material fact and the movant is entitled to judgment as a
  3   matter of law.” Id.
  4            3.         The non-movant must identify specific facts that show a genuine issue
  5   of material fact for trial, i.e., that the facts could allow a reasonable jury to return a
  6   verdict for the non-movant. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248
  7   (1986).
  8            4.         “The party moving for summary judgment bears the initial burden of
  9   demonstrating the absence of a genuine issue of fact for trial.” Devereaux v. Abbey,
 10   263 F.3d 1070, 1076 (9th Cir. 2001) (citing Celotex Corp. v. Catrett, 477 U.S. 317,
 11   323 (1986)).
 12            5.         If “a moving party carries its burden of production, the nonmoving
 13   party must produce evidence to support its claim or defense.” Nissan Fire & Marine
 14   Ins. Co. v. Fritz Cos., 210 F.3d 1099, 1103 (9th Cir. 2000).
 15            6.         “If the nonmoving party fails to produce enough evidence to create a
 16   genuine issue of material fact, the moving party wins the motion for summary
 17   judgment.” Id. (citing Celotex Corp., 477 U.S. at 322).
 18            7.         Each of the claims asserted by In-N-Out requires some showing that
 19   the Defendants were involved in use of the alleged false advertising or infringing
 20   marks.
 21            8.         On the Third Claim for Relief for False Advertising, In-N-Out must
 22   show that “the defendant[s] caused [the] false statement to enter interstate
 23   commerce.” Southland Sod Farms v. Stover Seed Co., 108 F.3d 1134, 1139 (9th Cir.
 24   1997).
 25            9.         On the First Claim for Relief for Federal Trademark Infringement, the
 26   Second Claim for Relief for Federal Unfair Competition, and the Fourth Claim for
 27   Relief for Federal Trademark Dilution, In-N-Out must show that the named
 28
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                                                             PLAINTIFF’ STATEMENT OF UNCONTROVERTED FACTS
                                                                                   AND CONCLUSIONS OF LAW
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  1   defendants are “persons” “who use[d] in commerce” the TRIPLE DOUBLE marks.
  2   15 U.S.C. §§ 1114(a)(1)(A), 1125(a), 1125(c).
  3            10.        On the Fifth and Sixth Claims for Relief for California Statutory
  4   Trademark Infringement, and California Statutory Trademark Dilution, In-N-Out
  5   must show, respectively, that the named defendants are using the TRIPLE DOUBLE
  6   marks, see Cal. Bus. & Prof. Code § 14250, or are “person[s]” who are making
  7   “commercial use” of the TRIPLE DOUBLE marks, see Cal. Bus. & Prof. Code §
  8   14247.
  9            11.        On the Seventh Claim for Relief for Unfair Competition Under the
 10   California Common Law, In-N-Out must show that the named defendants are using
 11   the TRIPLE DOUBLE marks.
 12            12.        On the Eighth Claim for Relief for Statutory Unfair Competition, In-N-
 13   Out must show that the named defendants are “persons” who have used the TRIPLE
 14   DOUBLE marks. See Cal. Bus. & Prof. Code § 17203.
 15            13.        As an initial matter, the undisputed facts demonstrate that Smashburger
 16   IP owns the TRIPLE DOUBLE Marks and the “Double the Beef” slogans and
 17   advertising materials.
 18            14.        Because Smashburger IP holds trademark registrations for at least two
 19   slogans (SMASH.SIZZLE.SAVOR. and SMASHED FRESH. SERVED
 20   DELICIOUS.) that are used not as the name of products but advertise products, it is
 21   apparent that Smashburger IP is also the owner of the “Double the Beef” slogans,
 22   which are used not as the name of the Triple Double burgers but to advertise such
 23   burgers.
 24            15.        The fact that Smashburger IP owns such marks, slogans, and
 25   advertising materials is sufficient as a matter of law to demonstrate that it is
 26   responsible for the use of such marks, slogans, and advertising materials to sell
 27   burgers at Smashburger restaurants.
 28
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                                                              PLAINTIFF’ STATEMENT OF UNCONTROVERTED FACTS
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  1            16.        Even if Smashburger IP’s ownership of the TRIPLE DOUBLE Marks
  2   and the “Double the Beef” slogans and advertising materials was not by itself
  3   sufficient to establish its responsibility – and it is – Smashburger IP would still be
  4   responsible by reason of its involvement in the process whereby Smashburger
  5   entities created such marks, slogans, and advertising materials.
  6            17.        There is no evidence suggesting that Smashburger IP is not the
  7   Smashburger entity that created the TRIPLE DOUBLE Marks and the “Double the
  8   Beef” slogans and advertising materials.
  9            18.
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 14            19.        In Western Sugar Co-op. v. Archer-Daniels-Midland Co., No. CV 11–
 15   3473 CBM (MANx), 2012 WL 3101659, *7-8 (C.D. Cal. July 31, 2012), the court
 16   recognized that there is “a theory of joint-tortfeasor liability under the Lanham Act”
 17   that is available “when the defendant has knowingly participated in the creation,
 18   development, and propagation of the false advertising campaign.” Id. (citing In re
 19   Century 21-RE/MAX Real Estate Advertising Claims Litig., 882 F. Supp. 915, 925
 20   (C.D. Cal. 1994)). See Yeti Enters. Inc. v. Tang, 2017 WL 3478484, *16 (D. Ore.
 21   Aug. 14, 2017) (same).
 22            20.        The Western Sugar Co-op. court found that the plaintiffs had stated a
 23   claim for false advertising under the Lanham Act against not only the trade
 24   association of corn refiners that had engaged in a campaign to rebrand high fructose
 25   corn syrup but also against the member companies that were alleged to have crafted
 26   that campaign in conjunction with the trade association. See Western Sugar Co-op.,
 27   2012 WL 3101659 at *1, 7-8.
 28
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                                                             PLAINTIFF’ STATEMENT OF UNCONTROVERTED FACTS
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  1            21.        Thus, Smashburger IP is responsible as a joint tortfeasor for use of the
  2   TRIPLE DOUBLE Marks and the “Double the Beef” slogans and advertising
  3   materials by reason of its involvement in the creation of those marks, slogans, and
  4   advertising materials, regardless of whether it used the marks, slogans, and
  5   advertising materials itself.
  6            22.        In a related context, the courts have held that advertising agencies are
  7   proper defendants to false advertising claims under the Lanham Act. See, e.g.,
  8   Nestle Purina PetCare Co. v. Blue Buffalo Co. Ltd., No. 4:14 CV 859 RWS, 2015
  9   WL 1782661, at *5 (E.D. Mo. Apr. 20, 2015) (denying motion to dismiss false
 10   advertising claim against advertising agency); In re Century 21-RE/MAX Real Estate
 11   Advertising Claims Litig., 882 F. Supp. at 925 (an advertising agency may be liable
 12   as a joint tortfeasor for false advertising it if “has knowingly participated in the
 13   creation, development and propagation of the … false advertising campaign”)
 14   (quotation omitted); Gillette Co. v. Wilkinson Sword, Inc., 795 F. Supp. 662, 663
 15   (S.D.N.Y. 1992) (“advertising agencies are liable under [Section 1125(a)] at least
 16   where they knowingly participate in the false advertising”), vacated on other
 17   grounds, No. 89 Civ. 3586(KMW), 1992 WL 12000396, at *1 (S.D.N.Y. Oct. 28,
 18   1992).
 19            23.        Because Smashburger IP “knowingly participated in the creation,
 20   development and propagation” of the TRIPLE DOUBLE Marks and the “Double the
 21   Beef” slogans and advertising materials, In re Century 21-RE/MAX Real Estate
 22   Advertising Claims Litig., 882 F. Supp. at 925, it is responsible for the use of such
 23   marks, slogans, and materials to sell burgers at Smashburger restaurants.
 24            24.        Smashburger’s website – which displays TRIPLE DOUBLE Marks and
 25   “Double the Beef” slogans – includes a copyright notice identifying Smashburger IP
 26   as the owner of the content.
 27

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                                                              PLAINTIFF’ STATEMENT OF UNCONTROVERTED FACTS
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  1            25.
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  4            26.        The facts that Smashburger IP uses the TRIPLE DOUBLE Marks and
  5   the “Double the Beef” slogans on the Smashburger website
  6

  7                                                     are sufficient as a matter of law to
  8   demonstrate that Smashburger IP is responsible for the use of such marks, slogans,
  9   and advertising materials to sell burgers at Smashburger restaurants.
 10            27.
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 16            28.        Smashburger Franchising’s involvement – direct or delegated – over
 17   the advertisements for franchise restaurants is sufficient as a matter of law to
 18   demonstrate that it is responsible for the use of the marks, slogans, and advertising
 19   materials at issue.
 20            29.        Furthermore, even if Smashburger Franchising delegated its right to
 21   direct the marketing programs, it would still be liable as a joint tortfeasor with any
 22   Smashburger entity to which such right might have been delegated, based upon its
 23   role in propagating use of the marks, slogans, and advertising materials. See
 24   Western Sugar Co-op., 2012 WL 3101659 at *7-8; In re Century 21-RE/MAX Real
 25   Estate Advertising Claims Litig., 882 F. Supp. at 925.
 26            30.        Both Smashburger IP and Smashburger Franchising are responsible for
 27   the use of the TRIPLE DOUBLE Marks and the “Double the Beef” slogans and
 28
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                                                             PLAINTIFF’ STATEMENT OF UNCONTROVERTED FACTS
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  1   advertising materials because they authorized the use of such marks, slogans, and
  2   advertising materials.
  3            31.        As discussed above, the “knowing participation” of Smashburger IP
  4   and Smashburger Franchising in the “propagation” of the use of the TRIPLE
  5   DOUBLE Marks and the “Double the Beef” slogans and advertising materials
  6   supports holding them responsible for such use. Western Sugar Co-op., 2012 WL
  7   3101659 at *7-8; In re Century 21-RE/MAX Real Estate Advertising Claims Litig.,
  8   882 F. Supp. at 925.
  9            32.
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 22            36.        Accordingly, Smashburger IP is responsible for propagating the
 23   TRIPLE DOUBLE Marks and the “Double the Beef” slogans and advertising
 24   materials for use at all Smashburger restaurants, whether company-operated or
 25   franchisee-operated.
 26            37.
 27

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                                                            PLAINTIFF’ STATEMENT OF UNCONTROVERTED FACTS
                                                                                  AND CONCLUSIONS OF LAW
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  1            38.
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  5            39.        Accordingly, Smashburger Franchising is responsible for propagating
  6   the TRIPLE DOUBLE Marks and the “Double the Beef” slogans and advertising
  7   materials for use at all Smashburger franchise restaurants.
  8            40.        In Inwood Labs., Inc. v. Ives Labs., Inc., 456 U.S. 844, 854 (1982), the
  9   Supreme Court recognized that “if a manufacturer or distributor intentionally
 10   induces another to infringe a trademark, or if it continues to supply its product to
 11   one whom it knows or has reason to know is engaging in trademark infringement,
 12   the manufacturer or distributor is contributorially [sic] responsible for any harm
 13   done as a result of the deceit.” Id. (emphasis added).
 14            41.        Here, Smashburger IP and Smashburger Franchising not only
 15   intentionally induced Smashburger company and franchise restaurants to use the
 16   TRIPLE DOUBLE Marks, the “Double the Beef” slogans, and the advertising
 17   materials, but they propagated such marks, slogans, and advertising materials by
 18   authorizing such use.
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                                                              PLAINTIFF’ STATEMENT OF UNCONTROVERTED FACTS
                                                                                    AND CONCLUSIONS OF LAW
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  1            42.        Any conclusion of law deemed to be a finding of fact is hereby
  2   incorporated into the findings of fact.
  3

  4
      Dated: April __, 2019
  5

  6
                                                             Honorable James V. Selna
                                                         Judge, United States District Court
  7

  8

  9

 10   Dated: March 4, 2019

 11   Submitted by:

 12
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 17       Counterdefendant IN-N-OUT BURGERS

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                                                             PLAINTIFF’ STATEMENT OF UNCONTROVERTED FACTS
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